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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,
 vs.                                          Case No. 17-20183
                                              HON. MARK A. GOLDSMITH
 HAROLD LASHAWN NERO (D-5),

           Defendant.
 __________________________________________________________________

              DEFENDANT NERO’S RESPONSE
 TO THE GOVERNMENT’S MOTION FOR CONTINUANCE AND FINDING
               EXCLUDABLE DELAY (Doc. 512)

       Defendant, Harold Nero, moves this Honorable Court to deny the

 government’s motion (Doc. 512) because its request for a continuance violates

 Defendant’s Speedy Trial Act rights under 18 USC § 3161 (as well as his due

 process rights, which is addressed in a contemporaneously filed Motion to Revoke

 the Detention Order), and severance of the co-defendants’ trials is available as

 requested in Nero’s Motion to Sever (Doc. 211), which he renews in light of this

 additional request for a continuance.

                                              Respectfully submitted,
 Dated: October 5, 2020
                                              By: s/Mark H. Magidson
                                                MARK H. MAGIDSON (P25581)
                                                Attorney for Defendant Shy
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                                                Detroit, MI 48226
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                  BRIEF IN SUPPORT OF
              DEFENDANT NERO’S RESPONSE
 TO THE GOVERNMENT’S MOTION FOR CONTINUANCE AND FINDING
               EXCLUDABLE DELAY (Doc. 512)



                                        FACTS


          Defendant Nero has been in custody since June 30, 2017, and he was

 arraigned on the superseding indictment on September 28, 2017.

          Before Nero was in custody, the government and co-defendants had

 stipulated to a finding that this was a “mega” case. Nero has never stipulated that

 this is a mega case.

          Nero agreed to two continuances excluding the time from his arraignment to

 May 23, 2018. (Stip. Order, Doc. 171, Pg ID 482-483). Nero agreed to those

 continuances despite the fact that the government chose to indict him before it had

 sufficiently reviewed the evidence it had collected. Nero has objected to the

 additional continuances requested by the government.

          At the latest September 8, 2020 status conference, the government and co-

 defendants stipulated to a continued trial date on May 24, 2021, for reasons related

 in part to the COVID-19 pandemic, but Nero objected to the government’s request

 again.




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        Nero has been in custody for three years and three months since his arrest,

 and he has been held in a limited, short term facility, a county jail that is only

 designed to house offenders for a maximum of one year. He will have been in

 custody for three years and 10 months by the time of the proposed May 24, 2020

 trial date.

        The delay in this case has been the result of nothing Nero has done. Nero has

 filed motions; however, those motions did not take months to decide. Nero is ready

 to proceed to trial now.



                                     ARGUMENT


        The Speedy Trial Act requires that a defendant's trial begin within 70 days

 after his indictment or his first appearance before a judicial officer, whichever is

 later. 18 U.S.C. § 3161(c)(1). A delay beyond the 70-day period attributable to

 joinder is not a ground for a severance, per se, because the Speedy Trial Act

 contains an express exclusion of a "reasonable period of delay when the defendant

 is joined for trial with a co-defendant as to whom the time for trial has not run and

 no motion for severance has been granted." 18 U.S.C. § 3161(h)(6). That is, a

 single speedy trial clock governs, and delay attributable to any one defendant is

 applicable to all defendants. "The only inquiry made in such multiple defendant

 cases is whether the delay is 'reasonable.' " United States v. Gambino, 59 F.3d 353,

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 362 (2d Cir. 1995). Moreover, a defendant must expressly move for severance on

 the ground of seeking a speedy trial to trigger this reasonableness requirement.

 United States v. Vasquez, 918 F.2d 329 (2d Cir. 1990). Nero filed a motion to sever

 on September 21, 2018. (Doc. 211).

       The government argues that a continuance through a trial date on May 24,

 2021, is necessary because of the complexity of this case, the volume of discovery,

 out of state government witnesses, the Co-defendants’ need for time to prepare for

 trial, the number of Defendants, and the COVID-19 pandemic. (Doc. 512, Pg ID

 2668-669, 2671-673).

       Nero argues that the government’s “lack of diligent preparation” before

 filing the indictment against him is a reason to deny it's request for an additional

 continuance resulting in Nero spending three years and ten months in custody, by

 the time of trial on May 24, 2020, because of its lack of diligent preparation. See

 18 USC 3161(h)(A) and (C).

       The Speedy Trial Act specifically states that “[n]o continuance … shall be

 granted because of … lack of diligent preparation or failure to obtain available

 witnesses on the part of the attorney for the Government.” 18 USC 3161(h)(C).

       The government also relied on the fact that Defendants have demanded

 discovery of the voluminous hours of surveillance video; however, before filing

 the indictments, the government knew that it would need to produce that discovery


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 in this case. The government’s lack of diligence before indictment, when it could

 have conducted its investigation and reviewed the discovery material—the

 evidence of its long-term investigation—will result in Nero sitting in custody for

 three years and 10 months before trial. Also, the Defendants’ review of the video

 would not have taken as long if the government had not waited months to provide

 its Review Lists until after the Defendants’ requests.

       The Speedy Trial Act protects defendants from having to sit in jail for this

 very reason—allowing the government to indict, and while a defendant sits in

 custody, then conduct its investigation and produce its evidence. 18 USC

 3161(h)(C).

        The ends of justice are not served by a continuance, and it is not in the best

 interest of the public and Defendant Nero in a speedy trial. Nero’s Sixth

 Amendment right to a speedy trial is being violated. He has been prepared for trial

 since the last three granted continuances.

       Nero understands that with COVID-19 and some co-defendants’ attorneys

 needing time to prepare for trial, there is reason to continue their trials; however,

 the remedy for Nero is to sever the co-defendants’ trials, particularly where Nero

 has an “antagonistic and mutually exclusive defense that he was merely present,

 using drugs.” (Mtn. to Sever, Doc. 211, Pg ID 713).




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       WHEREFORE, Defendant (D-5) Nero moves this Honorable Court to deny

 the government’s motion for a continuance; or, alternatively, to sever the co-

 defendants’ trials and allow Nero to proceed to trial on January 11, 2021.


                                                 Respectfully submitted,
 Date: October 5, 2020
                                                 By: s/Mark H. Magidson
                                                   MARK H. MAGIDSON (P25581)
                                                   Attorney for Defendant Nero (D-5)
                                                   615 Griswold, Ste. 810
                                                   Detroit, MI 48226
                                                   (313) 963-4311




                            CERTIFICATE OF SERVICE

       I certify that on October 5, 2020, I electronically filed the above Response
 and brief with the Clerk of the Court using the ECF system, which will send
 notification of the filing to the parties of record.
                                                 By: s/Mark H. Magidson
                                                 MARK H. MAGIDSON (P25581)
                                                 Attorney for Defendant Shy (D-13)




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